Case
 Case2:24-cv-00045-AM
      2:24-cv-00045-AM Document
                        Document49 Filed
                                    Filed05/28/24
                                          06/04/24 Page
                                                    Page41
                                                         1 of 56
                                                              4
Case
 Case2:24-cv-00045-AM
      2:24-cv-00045-AM Document
                        Document49 Filed
                                    Filed05/28/24
                                          06/04/24 Page
                                                    Page42
                                                         2 of 56
                                                              4
Case
 Case2:24-cv-00045-AM
      2:24-cv-00045-AM Document
                        Document49 Filed
                                    Filed05/28/24
                                          06/04/24 Page
                                                    Page43
                                                         3 of 56
                                                              4
                          Case 2:24-cv-00045-AM Document 9 Filed 06/04/24 Page 4 of 4
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 2:24-cv-00045-AM-HHW

                                                          PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

       This summons for (name of individual and title, if any) Richard Bogdanski was received by me on (date) May 29, 2024,
11:30 am.

          X      I personally served the summons on the individual at (place) 129 Shady Terrace Lane, Rockport, TX 78382 on
                 (date) Sat, Jun 01 2024; or
                 I left the summons at the individual’s residence or usual place of abode with (name)                                       ,a
                 person of suitable age and discretion who resides there, on (date) ‌                                     , and mailed a copy to
                 the individual’s last known address; or
                 I served the summons on (name of individual) ‌                                   , who is designated by law to accept service
                 of process on behalf of (name of organization)                                    on (date) ‌                       ; or
                 I returned the summons unexecuted because:                                     ; or
                 Other:                                  ; or

        My fees are $                                    for travel and $                          for services, for a total of $.

        I declare under penalty of perjury that this information is true.


Date: 6/3/2024



                                                                                                   Server's signature
                                                                            Joe Perez     Process Server
                                                                                                 Printed name and title


                                                                            P.O Box 18432, Corpus Christi, Texas 78480-8432
                                                                                                       Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: May 30, 2024, 2:41 pm CDT at 129 Shady Terrace Lane, Rockport, TX 78382
I made a personal attempt at said address. There was no answer, so I left my business card on the front door.

2) Successful Attempt: Jun 1, 2024, 11:18 am CDT at 129 Shady Terrace Lane, Rockport, TX 78382, received by Richard
Bogdanski.
